         Dated: 7/10/2024




                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION

                                                            )     Chapter 11
    In re:                                                  )     Judge Charles M. Walker
                                                            )
    AMARILLO PLATINUM, LLC, et al.,1                        )     Case Number
                                                            )     3:24-bk-02447
                             Debtors.                       )
                                                            )     Jointly Administered

 EXPEDITED ORDER (I) AUTHORIZING INTERIM USE OF CASH COLLATERAL,
  (II) PROVIDING ADEQUATE PROTECTION, (III) SETTING A FINAL HEARING
UPON A TIMELY OBJECTION TO FINAL RELIEF, AND (IV) AUTHORIZING FINAL
     USE OF CASH COLLATERAL ABSENT A TIMELY OBJECTION THERETO

             This matter came before the Court for hearing on July 9, 2024 (the “Hearing”) upon the

above-captioned Debtors’ Expedited Motion for Entry of Order Authorizing Interim Use of Cash

Collateral and Granting Final Use of Cash Collateral Absent Timely Objection (the “Motion”).

No creditor or interested party filed an objection to the Motion, and all parties present at the

Hearing confirmed that they had no objection to the relief sought in the Motion. All capitalized

terms not specifically defined herein shall have the meaning ascribed to them in the Motion.

             At the Hearing, the Court agreed that the Debtors should be entitled to interim use of cash

collateral through July 26, 2024 (the “Interim Cash Use Period”) upon providing the Cash

Collateral Lienholders with the adequate protection set forth in the Motion. If any Cash Collateral

Lienholder objected to any Debtors’ use of cash collateral beyond the Interim Cash Use Period—


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  The jointly administered cases are as follows: In re Amarillo Platinum,, LLC, Case No. 3:24-bk-02447; In re Midland
Platinum, LLC, Case No. 3:24-bk-02448; and In re Midland Platinum II, LLC, Case No. 3:24-bk-02449 (collectively,
the “Debtors,”) with each individually being a “Debtor.”



Case 3:24-bk-02447            Doc 27     Filed 07/10/24 Entered 07/10/24 14:59:03                      Desc Main
                                         Document     Page 1 of 4
or otherwise objected to any of the Debtors’ assertions in the Motion regarding the scope, extent,

or validity of any Cash Collateral Lienholders’ rights in the Debtors’ cash collateral—such Cash

Collateral Lienholder must file an objection thereto on or before July 19, 2024, with a hearing on

use of cash collateral beyond the Interim Cash Use Period to occur on July 24, 2024 at 11:00 a.m.

       Accordingly, it is hereby ORDERED as follows:

       1.      The Debtors are hereby authorized to continued use of cash collateral on an interim

basis during the Interim Cash Use Period, and through and including July 26, 2024, to pay the

ordinary and necessary operating expenses of the Debtors’ respective business based on the

Debtors’ ordinary business judgment.

       2.      In accordance with 11 U.S.C. § 361(2), each Debtor shall grant to the Cash

Collateral Lienholders replacement liens on each Debtor’s post-petition hotel revenues—including

food, beverage, and other revenue not directly associated with hotel room occupancy. The Court

finds that the replacement liens and other protection provided herein adequately protects the

property interests of the Cash Collateral Lienholders.

       3.      In the event that any of the Cash Collateral Lienholders object to any Debtor’s use

of cash collateral after the expiration of the Interim Cash Use Period or otherwise wish to challenge

any assertion made by the Debtors in the Motion, such Cash Collateral Lienholder must file an

objection to this Order on or before July 19, 2024. In the event an objection is timely filed, the

Court will conduct a hearing on final use of cash collateral beyond the Interim Cash Use Period

on July 24, 2024 as provided above. For clarity, nothing in this Order shall restrict or limit any

Cash Collateral Lienholder’s right to object to the Debtors’ use of cash collateral beyond the

expiration of the Interim Cash Use Period within the deadlines set forth herein.




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Case 3:24-bk-02447       Doc 27    Filed 07/10/24 Entered 07/10/24 14:59:03              Desc Main
                                   Document     Page 2 of 4
        4.       If no objection to any Debtor’s use of cash collateral beyond the Interim Cash Use

Period is timely filed, this Order shall be deemed to grant final use of cash collateral to the Debtor

pursuant to the terms herein without the need for any further hearing.

        5.       Notwithstanding the foregoing, each of the Debtors shall continue to timely pay in

full on a monthly basis and in the ordinary course all post-petition franchise fees, royalties, and

reimbursable expenses (the “Franchise Fees”) due to any hotel brand franchisor (each, a

“Franchisor”) pursuant to any franchise agreement between any Debtor and any Franchisor.

Without limiting the foregoing, nothing in this Order, nor any exhibits, addendums or attachments

annexed to this Order, shall operate as a cap, limit, or restriction on the payment of fees, royalties,

or expenses owed and to be paid by any Debtor to any Franchisor under its respective franchise

agreement, which fees, royalties, and expense shall be fully and timely paid in accordance with

the terms of such franchise agreement.2

        6.       This Order constitutes findings of facts and conclusions of law, and it shall take

effect and become enforceable immediately upon entry by the Court notwithstanding any Federal

Rule of Bankruptcy Procedure to the contrary.

        7.       As soon as practicable after the entry of this Order, counsel for the Debtors shall

serve a copy of this Order by U.S. Mail to the Debtor’s 20 largest unsecured creditors and all

secured creditors. The Debtors shall then file a certificate of service confirming the service as soon

as is practicable thereafter.




2
 This paragraph shall specifically include the obligations of Midland Platinum II, LLC (“Midland II”) and Amarillo
Platinum LLC (“Amarillo”) to timely pay all amounts due and owing to Marriott International Inc., or any of its
subsidiaries or affiliates (together, “Marriott”) arising under that certain (i) Courtyard by Marriott Franchise
Agreement between Midland II and Marriott dated January 25, 2005, as amended, and/or any related documents
associated therewith, and (ii) Springhill Suites by Marriott Franchise Agreement between Amarillo and Marriott dated
November 16, 2007, as amended, and/or any related documents associated therewith

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Case 3:24-bk-02447           Doc 27      Filed 07/10/24 Entered 07/10/24 14:59:03                     Desc Main
                                         Document     Page 3 of 4
         THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                 INDICATED AT THE TOP OF THE FIRST PAGE



APPROVED FOR ENTRY:

/s/ Henry E. (“Ned”) Hildebrand, IV
Henry E. (“Ned”) Hildebrand, IV
Gray Waldron
R. Alex Payne
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Counsel for the Debtors




                                                         This Order has been electronically
                                                         signed. The Judge's signature and
                                         4               Court's seal appear at the top of the
                                                         first page.
                                                         United States Bankruptcy Court.

Case 3:24-bk-02447   Doc 27   Filed 07/10/24 Entered 07/10/24 14:59:03          Desc Main
                              Document     Page 4 of 4
